             Case 23-31037-swe7                   Doc 1      Filed 05/25/23 Entered 05/25/23 16:12:12                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Highland Select Equity Master Fund, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  100 Crescent Court, Suite 1850
                                  Dallas, TX 75201
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Highland Select Equity Master Fund, L.P.                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5259

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     In re Highland Capital Management, L.P.                         Relationship           Affiliate


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Debtor   Highland Select Equity Master Fund, L.P.                                                  Case number (if known)
         Name


                                                                                                                                                   Case No.
                                              District    Northern Texas               When      12/4/19                Case number, if known      19-34054-sgj11


11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.     Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor   Highland Select Equity Master Fund, L.P.                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        May 25, 2023
                                                  MM / DD / YYYY


                             X   /s/     James P. Seery, Jr.                                               James P. Seery, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Authorized Signatory




18. Signature of attorney    X   /s/ Hudson Jobe                                                           Date    May 25, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Hudson Jobe
                                 Printed name

                                 Quilling Selandar Lownds Winslett Moser PC
                                 Firm name

                                 2001 Bryan Street Suite 1800
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (214) 514-5656               Email address      hjobe@qslwm.com

                                  TX
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Highland Select Equity Master Fund, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           May 25, 2023                           X /s/ James P. Seery, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                        James P. Seery, Jr.
                                                                       Printed name

                                                                       Authorized Signatory
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                   UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF TEXAS

 In Re:                                                                        §
                                                                               §
               Highland Select Equity Master Fund, L.P.                        §          Case No.:
                                                                               §
                                                                               §
                                                                   Debtor(s)   §
                                                                               §

                                                       VERIFICATION OF MAILING LIST


            The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                         is the first mail matrix in this case.

                                         adds entities not listed on previously filed mailing list(s).

                                         changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                         deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




 Date:          May 25, 2023                                               /s/ James P. Seery, Jr.
                                                                            James P. Seery, Jr./Authorized Signatory
                                                                           Signer/Title


                                                                           Debtor's Social Security/Tax ID No.


                                                                           Joint Debtor's Social Security/Tax ID No.




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                             Deborah Deitsch Perez
                             Stinson LLP
                             2200 Ross Avenue, Suite 2900
                             Dallas, TX 75201


                             Highland Capital Management, LP
                             100 Crescent Court, Suite 1850
                             Dallas, TX 75201


                             Internal Revenue Service
                             PO Box 7346
                             Philadelphia, PA 19101-7346


                             Mazin Sbaiti, Sbaiti & Company PLLC
                             Sbaiti & Company PLLC
                             2200 Ross Avenue, Suite 49900W
                             Dallas, TX 75201


                             Pachulski, Stang Ziehl & Jones LLP
                             10100 Santa Monica Blvd, 13th Floor
                             Los Angeles, CA 90067


                             The   Dugaboy Investment Trust
                             c/o   Heller, Draper & Horn, L.L.C.
                             650   Poydras St., Suite 2500
                             New   Orleans, LA 70130


                             TX Comptroller of Public Accounts
                             Revenue Accounting Division
                             Bankruptcy Section PO Box 13528
                             Austin, TX 78711


                             U.S. Attorney
                             Office of the U.S. Attorney
                             3d Floor, 1100 Commerce St.
                             Dallas, TX 75242


                             United States Trustee
                             1100 Commerce Street Room 976
                             Dallas, TX 75202
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                                                                     United States Bankruptcy Court
                                                                         Northern District of Texas
  In re      Highland Select Equity Master Fund, L.P.                                                       Case No.
                                                                                     Debtor(s)              Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Highland Select Equity Master Fund, L.P. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Highland Select Equity Fund, L.P.
 100 Crescent Court, Suite 1850
 Dallas, TX 75201




     None [Check if applicable]




  May 25, 2023                                                           /s/ Hudson Jobe
 Date                                                                    Hudson Jobe
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Highland Select Equity Master Fund, L.P.
                                                                         Quilling Selandar Lownds Winslett Moser PC
                                                                         2001 Bryan Street Suite 1800
                                                                         Dallas, TX 75201
                                                                         (214) 514-5656 Fax:(214) 871-2111
                                                                         hjobe@qslwm.com




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                                                                     United States Bankruptcy Court
                                                                          Northern District of Texas
  In re      Highland Select Equity Master Fund, L.P.                                                            Case No.
                                                                                       Debtor(s)                 Chapter    7



                                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                           PETITION, LISTS, STATEMENTS, AND SCHEDULES

PART I: DECLARATION OF PETITIONER:

          As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership,
or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I
have read the information provided in the petition, lists, statements, and schedules to be filed electronically in this case and
I hereby declare under penalty of perjury that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court
within 7 days after the petition, lists, statements, and schedules have been filed electronically. I understand that a failure to
file the signed original of this Declaration will result in the dismissal of my case.

             I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
             schedules on behalf of the debtor in this case.



 Date: May 25, 2023                                                     /s/ James P. Seery, Jr.
                                                                        James P. Seery, Jr.,   Authorized
                                                                        Signatory


PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with
primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter.

 Date:           May 25, 2023                                                                  /s/ Hudson Jobe
                                                                                               Hudson Jobe, Attorney for Debtor
                                                                                               2001 Bryan Street Suite 1800
                                                                                               Dallas, TX 75201
                                                                                               (214) 514-5656 Fax:(214) 871-2111




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